Case 7:21-cv-00063-TTC-RSB Document 63 Filed 10/13/21 Page 1 of 1 Pageid#: 756

                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF VIRGINIA
                              ROANOKE DIVISION

 DANIEL N. HALTER, e t al. ,)
                            )
     Plaintiffs,            )                          Civil Action No. 7:21cv00063
                            )
 v.                         )                          MEMORANDUM OPINION
                            )
 MIDDLE RIVER REGIONAL JAIL )                          By: Hon. Thomas T. Cullen
 AUTHORITIES, et al. ,      )                              United States District Judge
                            )
     Defendants.            )


        Plaintiffs filed this civil action under 42 U.S.C. § 1983. By orders entered September

 15, 2021, the court conditionally filed this action as to plaintiffs Dyson, Hernandez, Norcross,

 Benton, Veney, Rhodes, Vaughan, Balser, and Goepel, and directed them to provide the court

 with certain financial documentation within 20 days. (See ECF Nos. 18, 23, 29, 30, 31, 32, 40,

 43, and 44.) The court warned the plaintiffs that failure to comply with the court’s order would

 result in dismissal of their case. (Id.) More than 20 days have elapsed, and plaintiffs Dyson,

 Hernandez, Norcross, Benton, Veney, Rhodes, Vaughan, Balser, and Goepel have not

 responded to the court’s order. Accordingly, the court will dismiss these plaintiffs from this

 action without prejudice for failure to comply with the court’s order. The court notes that this

 dismissal is without prejudice to the plaintiffs’ opportunity to refile their claims in separate

 civil actions, subject to the applicable statute of limitations.

        ENTERED this 13th day of October, 2021.


                                                       /s/ Thomas T. Cullen__________________
                                                       HON. THOMAS T. CULLEN
                                                       UNITED STATES DISTRICT JUDGE
